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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

 AMF BOWLING CENTERS, INC.;                         §       CIVIL ACTION NO.
 BOWLERO CORP.,                                     §
                                                    §         3:23cv448
                                                            ______________________
                Plaintiffs,                         §
                                                    §
         vs.                                        §
                                                    §       VERIFIED
 THOMAS TANASE,                                     §       COMPLAINT
                                                    §
                Defendant.                          §



       Plaintiffs AMF Bowling Centers, Inc.                 and Bowlero Corp. (with AMF,

                  ), by and through their attorneys, bring this complaint against defendant Thomas

Tanase and allege as follows:

                                  NATURE OF THE DISPUTE

       1.                                                                       er Chief Information

Officer. In this role, Mr. Tanase had access to and responsibility for maintaining the confidentiality



individuals within Bowlero who had more responsibility for such tasks. This suit arises out of Mr.



       2.      On May 15, 2023, Mr. Tanase lost his temper during a discussion with his

supervisor that culminated in his yelling at his supervisor and resigning from the Company. When,

following that incident, Bowlero refused to allow Mr. Tanase to revoke his resignation, Mr. Tanase

                                                        y                                 Mr. Tanase

then began to do just that.
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        3.     Specifically, from the effective date of his resignation, May 16, 2023, through June

13, 2023, Mr. Tanase repeatedly and illegally hacked into                                on a near-

daily basis. Among the highly sensitive and proprietary emails Mr. Tanase had access to and,

upon information and belief, reviewed, were attorney-client privileged communications regarding

Mr. Tanase himself                                                            now-lawyer, Daniel

Dowe, has been adverse to Bowlero for approximately seven years.



at any time, let alone after his employment ceased. But he did it anyway.

        4.     In addition to hacking into                          account, Mr. Tanase initially

refused to return all but one Bowlero-issued device for over a month following his resignation, as

he was contractually obligated and directed to do, and

A                                                                a Dell XPS laptop     reveals that

Mr. Tanase accessed that device after his resignation when he was no longer authorized to do so.

Worse, he accessed that device to first wipe its contents completely clean and then, after learning



examination of his devices, re-booted the Dell XPS with Windows software and copied over 2,100

documents on to that laptop from where he had apparently saved them onto a personal USB drive.

Mr. Tanase has not turned that USB drive over to Bowlero.

        5.

counsel demanding a written accounting of all information Mr. Tanase obtained from the devices

                                                              his distribution of that information,

Mr. Tanase did not offer any explanation for                       . Instead, he hired Mr. Dowe,

who                                                   declined to respond to the cease and desist



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demands. Instead, Mr. Dowe claimed that Mr. Tanase has given him additional evidence to

                           -year-old legal vendetta against the Company. Upon information and

                                                                     retained post-resignation and

attorney-client privileged information that Mr. Tanase unlawfully obtained.

       6.                                               and his refusal to comply with

June 17 demands or even meaningfully respond to the allegations therein, Bowlero has serious

concerns that Mr. Tanase has and is continuing to disclose its confidential information to third-

                                  -time litigation adversary.

       7.      Bowlero brings this action against Mr. Tanase for his violations of the Computer

Fraud and Abuse Act                                                                      and for his

trespass to chattels and breaches of contract. Bowlero also seeks a temporary restraining order

and preliminary injunction requiring Mr. Tanase, his agents, and all those acting in active concert

or participation with Mr. Tanase to: (i) refrain from accessing or extracting any data from



proprietary material or confidential information; (iii) identify, in writing and under oath, the

identity of any persons or entities to which they have disclosed any proprietary material or

confidential information; and (iv) make all devices within their possession, custody, or control,

which contain or ever have contained proprietary material or confidential information (including

but not limited to the three USB devices connected to the Dell XPS on June 6, 2023), available for



                        PARTIES AND RELEVANT NON-PARTIES

       8.      Plaintiff AMF Bowling Centers, Inc. is a Virginia corporation with its principal

place of business in Mechanicsville, Virginia. AMF Bowling Centers, Inc. is a wholly owned

subsidiary of Bowlero Corp.

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       9.      Plaintiff Bowlero Corp. is a Delaware corporation and a publicly traded company

with its principal place of business in Mechanicsville, Virginia. Bowlero Corp. is the largest owner

and operator of bowling centers in the world, with over 8,000 employees.

       10.     Defendant Thomas Tanase is a former employee of AMF who worked out of

                                                      Virginia. Mr. Tanase is a resident of Virginia

with an address at: 7991 Kenmore Drive, Mechanicsville, Virginia 23111.

       11.     Non-party Daniel Dowe is an attorney based in New York and the founder of Dowe

Partners LLC. Mr. Dowe has been adverse to Bowlero in legal matters since as early as 2016. In

July 2017, Mr. Dowe filed a lawsuit against Bowlero in the Supreme Court of the State of New

York, County of Oneida (                        , which lawsuit was dismissed with prejudice. In

dismissing the Oneida Action, the Court sanctioned

frivolous manner in that his conduct in the prosecution of this matter was undertaken in a manner

that served                                                                                     Mr.



                                JURISDICTION AND VENUE

       12.     This Court has original subject matter jurisdiction over Count I of this matter

(asserting a violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030(g)) pursuant to 28

U.S.C. § 1331 because this claim arises

         The Court may exercise supplemental jurisdiction over                      remaining state



claims in the action within such original jurisdiction that they form part of the same case or

controversy under Article III

       13.     This Court has general personal jurisdiction over Mr. Tanase because Mr. Tanase

has a residence within this District in Virginia. Further, this court has personal jurisdiction over

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Mr. Tanase because he directed his unlawful activities at Virginia, the state where he was

employed by the Company, where                    email servers are located, and from where he

committed the offenses enumerated herein.

       14.    Venue is proper in the Richmond Division of the Eastern District of Virginia



                              Mechanicsville, Virginia                      l part of property that is

                                         Henrico County, within this Division. Specifically, the

email servers that Mr. Tanase accessed without authorization are located in Sandston, Virginia,

within Henrico County.

                                  FACTUAL ALLEGATIONS

       15.    Mr. Tanase was hired by Strike Holdings, LLC, a predecessor of Bowlero, on June

10, 2002, as the Senior Vice President of Information Technology. In the following twenty-one

years, Mr. Tanase                                                    .

       A.

       16.

W                                                                            that set forth the terms

and conditions of his continued employment with Bowlero.

       17.    By executing the Employment Agreement, Mr. Tanase acknowledged:

       During the period of my employment, I will be exposed to certain trade secrets,
       proprietary information and other information concerning matters relating to the
       business of the Company, including information concerning client affairs, bowling
       league contacts, customer lists, vendors, company operations, personnel, finances,
       strategies, intellectual property, technology, plans, policies, strengths, weaknesses,
       marketing, real estate, assets, risk, legal compliance, Work Product and other
                                                                    ). I acknowledge that this
       Confidential Information is valuable, spec
       and that it is in the legitimate business interest of Company to restrict my disclosure
       or use of Confidential Information. I agree at all times during the term of my
       employment and at all times thereafter, to hold in strictest confidence, and not to

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       use or disclose to any person, firm or corporation, except for the direct benefit of
       the Company related to my work, any Confidential Information. . . . All
       Confidential Information shall remain the sole and exclusive property of the
       Company.

       Ex. A § 2 (emphasis added).

       18.

whether or not pertaining to Work Products or Confidential Information, furnished to or accessed

by me or produced or obtained by me in connection with my work hereunder upon my termination

                                               Id. § 10.

       19.       The Employment Agreement

controversy arising out of any interpretation, enfo                                        id. § 22,

but allows for

                                                                                           id. § 14.

       B.        Mr. Tanase Resigns And Vows T                         On Bowlero And To
                 Its CEO

       20.       On May 15, 2023, Mr. Tanase lost his temper during a discussion with his

supervisor that culminated with Mr. Tanase screaming, swearing, and announcing that he was

resigning. The next day, Mr. Tanase attempted to withdraw his resignation, but Bowlero did not

accept his revocation of resignation. Bowlero advised Mr. Tanase that his resignation was

effective May 16, 2023.

       21.       Upon his resignation, and pursuant to his Employment Agreement, Mr. Tanase was

                     all documents and other tangible materials, . . . furnished to or accessed by

[him] or produced or obtained by [him] in connection with [his employment]                    § 10.

       22.       Further, Bow                                      -

Mr. Tanase was fully familiar with through his capacity as CIO of Bowlero, and which is posted



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                                                         -owned devices and accessories must be



          23.   And, Bowlero                                                               ich Mr.

Tanase was also fully familiar with and which was also posted on




          24.   Further, immediately following Mr. Tanase     resignation, Bowlero took measures

to ensure that he could no longer access its computer systems or servers. In particular, on May 16,

2023, Bowlero terminated

servers

systems or servers through other channels.

          25.

called Mr. Tanase. During that call, Mr. Tanase told Ms. Webb that he was so upset with the

Company and Mr. Shannon. He threatened

CEO, Mr. Shannon, and claimed he would

and Mr. Shannon.

          26.   During that May 31 conversation, Mr. Tanase told Ms. Webb that he had spoken

with CNBC and several lawyers, including attorney Daniel Dowe, about the Company. Mr. Dowe

has been representing parties adverse to Bowlero in ongoing legal matters since 2016. Mr. Tanase

                                   Ms. Webb understood to mean that he would no longer attempt

to seek revenge or retribution on Bowlero or Mr. Shannon, if Bowlero were to pay him a $1.2

                                                               is payment.




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       27.     Also on May 31, Ms. Webb emailed Mr. Tanase                personal email address

requesting that he return the outstanding Bowlero-issued devices.

       C.                                                    Into It                 Account

       28.     Given the manner in which Mr.                                                 threats

shortly after his resignation, the Company undertook an investigation to determine whether Mr.

Tanase was still attempting to access any Company computers, servers, and/or confidential

information.

       29.     On June 13, 2023, through its investigation, Bowlero discovered that, since at least

May 16, 2023 (the effective date of his resignation), Mr. Tanase had been routinely, frequently,

and improperly accessing                   emails, sometimes multiple times a day.

       30.     I

Technology, Kevin Crossman, reviewed                         Duo authentication logs. Duo is a

                                                               via webmail. At each remote login,

Duo creates a record of the time and physical location from which the webmail login occurred.

Among other information, the Duo logs record the IP address associated with the device accessing

the given email account via webmail. An IP address is a unique strand of numbers assigned to

each device that is connected to the internet.

       31.     In particular, Mr. Crossman reviewed the Duo logs associated with

Bowlero email account dating from April 14 to June 13, 2023. The Duo logs for Mr. Sha

email account show multiple logins from a device with IP address                     . A review of

                                                                                        -referenced

IP address is an IP address associated with a device Mr. Tanase frequently used to access his emails

while he was employed by Bowlero.



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Bowlero-                                                                -based, anti-malware software

application. In other words, there can be no dispute that each time the Duo logs reflect the above-



the device associated with that IP address.

         32.   The Duo logs reveal that, since Mr. Ta                effective date of resignation, Mr.

Tanase had accessed                                                                         account, on

multiple occasions, sometimes multiple times per day with a device associated with the above-

referenced IP address. Sp                                                                            Mr.

Tanase                                                  or after his resignation using that IP address on

May 16, May 17, May 18, June 6, June 7, June 8, June 9, June 12, and June 13. On May 17, Mr.

                                  email account five times. And, on June 8, Mr. Tanase accessed

Mr. Shann                      four times. Upon information and belief, Mr. Tanase also logged on

                                                                       iated with additional devices on

additional dates.

         33.                                                                                          -in

credentials that Mr. Tanase was provided prior to his resignation and solely as part of his work

within the              IT function. Mr. Tanase never had permission to review

emails, including when he was actually employed by Bowlero. Any authority Mr. Tanase had to

                                                                             was solely to facilitate the

work                                  , and that authority was revoked upon his resignation as a

matter of practice, policy, and contract.

         34.                                account contains highly confidential and proprietary

information, including information regarding busin



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financial information and performance, and discussions regarding employee matters, much of

                                                                                        . Indeed, the

emails that Mr. Tanase accessed after his resignation

competitively sensitive information. Mr. Shannon is also in regular correspondence with in-house

and outside counsel on various legal matters. During the period in which Mr. Tanase accessed Mr.



Mr. Tanase himself, as well as                                                          , Mr. Dowe is

involved.

           35.     Immediately after discovering that Mr. Tanase was hacking



account. In particular, on the evening of June 13, 2023, Mr. Crossman worked with Mr. Shannon

                                              . Mr. Crossman also instituted a firewall block against



           36.                                                                    ,

logs show that Mr. Tanase continued to attempt to                                but was unable to do

so.

      D.           Mr. Tanase Refuses To Comply W                             And Desist Letter

           37.     On June 17, counsel for Bowlero sent Mr. Tanase a cease and desist letter

                 regarding his post-resignation conduct. Therein, counsel notified Mr. Tanase that

Bowlero was well aware of his unauthorized access to its email servers and noted that such conduct

violates the CFAA and the VCCA, among other offenses. Counsel also noted that Mr. Tanase had,

to that date, refused to return all of his Bowlero-issued devices and that his failure to do so was a

breach of the Employment A



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       38.       The June 17 Letter demanded that, within 24 hours of receipt thereof, Mr. Tanase

write to confirm that he would:

                 Immediately return all Company-issued devices to Bowlero without
                 manipulating those devices in any way and without extracting or saving any
                 data thereon.

                 Identify all documents, communications, information, or data that [he has]
                 taken from any Bowlero server, email platform, cloud hosting service, or
                 any Bowlero-issued device.

                 Explain in detail what, if anything, [he has] done with the information [he
                 has]
                 whether [he had] downloaded any of that information; and with whom he
                 [had] shared or discussed that information.

                 Provide [counsel] with all documents and communications concerning [Mr.
                 T
                 communications concerning any information [Mr. Tanase had] learned


                 Commit that [he] will cease disclosing confidential information [he]
                 received from Bowlero to anyone.

       39.       Aside from belatedly returning certain Bowlero-issued devices on June 20, 2023

(discussed below) Mr. Tanase has refused to comply with the above demands. Critically, Mr.

Tanase failed to provide any written response thereto, including one that denied that he had in fact

copied or taken any documents, information, communications, or data from Bowlero or disclosed

any such information to any third-party. Instead, during a phone conversation with a Bowlero

executive, Mr. Tanase incredibly denied the allegations in the June 17 Letter and could not offer



email account.

       40.       Bowlero received a letter from Mr. Dowe on June 22, 2023 confirming that his firm

had          been retained by Mr. Tanase.

group and our case against Bowlero has significantly added to the evidence of wrongdoing in


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matters before the [Equal Employment Opportunity Commission] and beyond, referring to the

other matters in which Mr. Dowe is representing adversaries of Bowlero. Mr. Dowe                   did

not deny any of the allegations set forth in the June 17 Letter, nor did it commit that Mr. Tanase

would comply with the demands set forth therein, including the demand that Mr. Tanase commit



Tanase had in fact copied or taken any documents, information, communications, or data from

Bowlero after his resignation or that Mr. Tanase still has such material in his possession.

       41.       On June 20, 2023       over a month after his resignation, Mr. Tanase finally returned

to Bowlero a Dell XPS laptop, an iPad Pro, a reMarkable 2 tablet, and a HP windows tablet

(together, the                      .

       42.       The Dell XPS was issued to Mr. Tanase in or around February 2021 and was Mr.

                                                                        -issued PCs, the Dell XPS was

pre-installed with Windows Pro software.

       43.       On or around June 1, 2023, Bowlero engaged third-party Sage Intelligence Group,

LLC              to conduct a forensic examination of the Bowlero Devices.

       44.       Using Magnet Forensics software, Sage analyzed a forensic image of the Dell XPS.

The Magnet Forensics software creates logs of historical activity on a computer hard drive. In this

case, the Dell XPS did not reflect any activity on the Dell XPS prior to June 6, 2023.

       45.       However, event logs reveal that on June 6, 2023, three unique external devices were

connected to the Dell XPS model. The first access involved a JetFlash Transcend 64GB USB

                                            first connected to the laptop at 1:21 p.m. and removed at

2:12 p.m. on June 6, 2023. The second access involved a Samsung T7 Touch d

This drive was connected to the laptop at 2:41 p.m. and removed at 2:46 p.m. on June 6, 2023.



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was connected to the laptop at 3:27 p.m. and removed at 3:54 p.m.

       46.     The first drive, the JetFlash, is an ESD (Electronic Software Delivery) Device. The



operating system. Accordingly, using the JetFlash, Mr. Tanase installed a Windows operating

system on the Dell XPS.

       47.     The lack of any recorded events in the Dell XPS history before June 6, as well as

the installation of Windows on June 6     on a device that had been issued to Mr. Tanase with

Windows already installed    are extremely strong evidence that Mr. Tanase wiped clean the Dell

XPS device at some point prior to June 6, 2023 and, upon information and belief, after his

resignation.

       48.     After installing Windows on June 6, Mr. Tanase connected the Touch to the Dell

XPS. The Touch remained connected to the laptop for a five-minute period on the afternoon of

June 6. Metadata of documents located on the Dell XPS shows that over 2,100 documents were

                                         -minute window during which the Touch was connected



                                        prior to June 6, 2023. The logical inference arising from

this activity is that Mr. Tanase copied the June 6 Created Documents from the Touch to the Dell

XPS on June 6, 2023.

       49.     Further, a

on June 6, 2023.

       50.     Mr. Tanase has not turned over any of the three USB devices to Bowlero.




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       51.     In order to upload the materials to the laptop on June 6, Mr. Tanase had to have

removed the June 6 Created Documents                                at some point before June 6.

Upon information and belief, Mr. Tanase put the June 6 Created Documents on to the Dell XPS

on June 6, before returning the laptop to Bowlero, so that it would not appear to Bowlero that Mr.

Tanase had deleted or taken documents from the Dell XPS. Because Mr. Tanase wiped clean the

Dell XPS laptop prior to June 6, Bowlero is unable to confirm what activity occurred prior to that

date, including when Mr. Tanase may have accessed files en masse which could suggest the

transfer of materials onto an external hard drive such as the Touch. Upon information and belief,

Mr. Tanase has retained copies of the June 6 Created Documents on the Touch and potentially

other devices currently in his possession.

       52.     Many of the June 6 Created Documents are Confidential Information as defined in

the Employment Agreement. For example, the June 6 Created Documents include:

               a.



                          Engagement Letter_19DEC2018.doc,          202     Template Consulting

               Agreement v1.doc          (engagement letters and draft engagement letters with

               consultants); descriptions of work performed for Bowlero by its vendors;

               Check Detail_08.18.21-12.22.21.xlsx (an excel spreadsheet reflecting payments

               to vendors from August 18 to December 22, 2021, including

                                                                 -row tab listing vendor invoices

               and

               that lists consolidated




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                b.



                                          2018-06-26.xlsx        chart of projects to optimize

                                                                             03_09_2020.xlsx

                                    6-10-2019.xlsx

                of resources across different projects and staff members);

                c.     Informa



                                                                months and documents relating to

                a pending acquisition, and;

                d.     Informa




                financial records with City National Bank spanning several months); a file titled

                                              .xlsx

                salaries, bonuses, and respective divisions).

       53.      The June 6 Created Documents include Bowlero-related documents from 2012

through 2023.

       54.      Mr. Tanase is poised to cause irreparable harm to the Company through the

dissemination of information and/or materials he has improperly accessed both through hacking

                                     accessing the Dell XPS and potentially other Bowlero-issued

devices after his resignation                                                                   .

These Proprietary M



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Agreement, including sensitive and confidential, proprietary documents re

business plans, strategies, finances, and vendors, as well as confidential emails of a similar nature

and privileged attorney-client communications and work product                        inbox.

       55.     In this case, there is a particularly heightened risk of immediate and irreparable

harm to Bowlero because Mr. Tanase has already threatened retaliation against the Company and

its CEO personally, including potentially by disclosing sensitive material to CNBC and Mr. Dowe,

who is adverse to Bowlero in a number of legal disputes and who now represents Mr. Tanase. The

disclosure of such Proprietary Materials and privileged information to any third parties could

interfere with Bowlero s competitive advantages in the industry and could reveal to its litigation

adversaries its litigation strategies. Accordingly, there is good reason to be concerned that Mr.

Tanase already has and will continue to disclose the materials he has improperly accessed and/or

copied post-resignation in an attempt to harm Bowlero.

                                 FIRST CLAIM FOR RELIEF

               (Violation of Computer Fraud and Abuse Act, 18 U.S.C. § 1030(g))

       56.     Bowlero adopts and fully incorporates the foregoing paragraphs of this Complaint

as if set forth herein word for word.

       57.     The Bowlero computer systems and email servers that Mr. Tanase accessed after

his employment ended constitute computers within the meaning of the CFAA because they store

electronic data.

       58.     The Bowlero computer systems and email servers that Mr. Tanase accessed

constitute protected computers within the meaning of the CFAA because they are used in or

affecting interstate or foreign commerce or communication and are connected to the internet.




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       59.                                                              -issued devices after his

employment ceased, Mr. Tanase intentionally accessed                  computer systems and email

servers without authorization.

       60.     In particular, after May 16, 2023, the effective date of Mr. Tanase     resignation,

any authorized access Mr. Tanase                                                      wlero-issued

devices was permanently revoked. Mr. Tanase knew that he was not authorized to access

                                                                                -employees do not

have authorization to continue to access              computer systems and servers. Having worked

                                     -one years, Mr. Tanase knew this to be the case. And Mr.



and systems because he knew that Bowlero terminated his user credentials after his resignation.

Second,               Employment Agreement requires him to return Bowlero-issued devices and

Bowlero documents upon the cessation of his employment, and, as former CIO, he was aware of

the Company     written

servers. Finally, Mr. Tanase was instructed to return the devices on May 31 if not earlier.

       61.     Mr. Tanase intentionally and without authorization accessed                computer

systems and servers after his resignation. Mr. Tanase took these steps in order to obtain non-public

Proprietary Material, including Confidential Information.

       62.     Mr. Tanase unauthorized access has already caused or will cause Bowlero to lose

in excess of $5,000 during a one-year period. In particular, Bowlero has suffered damages in the

                                                                                              to its

computer systems and servers, including through the costs of its own em                         and

remediation and the hiring of a third-party forensics firm



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offenses, and by engaging

and seek the relief requested herein.

       63.     Bowlero seeks damages under 18 U.S.C. § 1030(g) in an amount to be proven at

trial. Bowlero also seeks a preliminary and permanent injunction prohibiting Mr. Tanase from

                                        or servers. Bowlero has already been caused to suffer




                                    SECOND CLAIM FOR RELIEF

                   (Virginia Computer Crimes Act, Va. Code § 18.2-152.1, et. seq.)

       64.     Bowlero adopts and fully incorporates the foregoing paragraphs of this Complaint

as if set forth herein word for word.

       65.     In connection with its regular business operations, Bowlero maintains much of its

IT network on a server located in Virginia. Those

Va. Code § 18.2-152.2. The Bowlero-issued devices, including the Dell XPS, were also located

in Virginia.

       66.     Mr. Tanase knowingly acted without authority when

computers and systems located in Virginia

XPS) after his employment,

systems and servers.

       67.     Without authority, Mr. Tanase has repeatedly and with malicious intent gained



therefrom to use that information for improper purposes.




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           68.   Upon information and belief,

systems and servers for the purpose of sharing                Proprietary Matter and Confidential

Information with third-parties

Shannon, as he promised.

           69.   Upon information and belief, Mr. Tanase unlawfully copied confidential

information from the Dell XPS and/or other Bowlero-issued devices or Bowlero systems and

servers on to at least one USB drive after his resignation.

           70.   Mr. Tanase unlawfully altered, disabled, and/or erased computer data from the Dell

XPS after his resignation and removed computer programs and software from the Dell XPS after

his resignation.

           71.   The foregoing acts have caused injury and damage to Bowlero, including but not

limited to causing Bowlero to expend resources and money to investigate the extent of Mr.

                   . In particular, Bowlero has suffered damages in the form of costs to investigate

                                                                                              rvers,



a third-

                                                          violations and seek the relief requested

herein.

           72.   Bowlero has also suffered monetary damages in an amount to be proven at trial.

           73.   Bowlero also seeks a preliminary and permanent injunction prohibiting Mr. Tanase

                              mputer systems or servers. Bowlero has already been caused to suffer




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                                 THIRD CLAIM FOR RELIEF

                                        (Trespass to Chattels)

       74.       Bowlero adopts and fully incorporates the foregoing paragraphs of this Complaint

as if set forth herein word for word.

       75.       After his resignation, Mr. Tanase

email servers, including the data and information contained therein, without authorization, through



       76.       After his resignation, Mr. Tanase repeatedly and intentionally accessed Bowlero-

issued devices, including the Dell XPS and the data and information contained therein, without

authorization.

       77.                                                 -issued devices are property of Bowlero

that Mr. Tanase had no authorization to access after his resignation.

       78.

goodwill and reputation and Bowlero seeks damages in an amount to be proven at trial.

       79.       Mr. Tanase                                          n intentionally with malice or

such recklessness or negligence as to evince a conscious disregard of the rights of others, justifying

the imposition of punitive damages in an amount sufficient to punish and deter Mr. Tanase and

warn others.

                                FOURTH CLAIM FOR RELIEF

                                        (Breach of Contract)

       80.       Bowlero adopts and fully incorporates the foregoing paragraphs of this Complaint

as if set forth herein word for word.




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         81.   On November 10, 2015, in consideration of his continued employment with

Bowlero, Mr. Tanase executed the Employment Agreement. The Employment Agreement is a

binding and enforceable contract.

         82.   Bowlero complied with each of its obligations under the Employment Agreement.

         83.   By

the term of [his] employment and at all times thereafter, to hold in strictest confidence, and not

to use or disclose to any person, firm or corporation, except for the direct benefit of the Company

relate

         84.   The

secrets, proprietary information and other information concerning matters related to the business

of the Company, including information concerning client affairs, bowling league contracts,

customer lists, vendors, company operations, personnel, finances, strategies, intellectual property,

technology, plans, policies, strengths, weaknesses, marketing, real estate, assets, risk, legal

compliance, Work Product and other company related information.

         85.   Mr. Tanase breached Section 2 of the Employment Agreement by obtaining

                                                                               after his resignation

and by using that information for his own personal benefit rather than sole



         86.   Further, upon information and belief, Mr. Tanase also breached Section 2 of the

Employment Agreement by sharing Confidential Information with third-parties, including

privileged communications pertaining to Mr. Dowe, with Mr. Dowe. And, upon information and

belief, if not enjoined, Mr. Tanase will continue to breach Section 2 of the Employment Agreement

by sharing Confidential Information with third-parties.



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         87.   Under Section 10 of

documents and other tangle materials . . . furnished to or accessed by [him] or produced or obtained

by [him] in connection with [his] work hereunder upon [his] termination of employment or at any



         88.   Upon information and belief, Mr. Tanase has breached Section 10 of the

Employment Agreement by maintaining copies of

[him] or produced or obtained by [him] in connection with [                                  . Such

documents include, at a minimum, the June 6 Created Materials that, upon information and belief,

                                                               .

         89.   As a result of any one of these breaches of the Employment Agreement, Bowlero

has suffered and will continue to suffer damages and faces irreparable injury for which damages

will not be a sufficient remedy, including by losing its competitive advantages and by the

disclosure of its privileged attorney-client communications regarding ongoing legal matters with

an adversary of Bowlero.

         90.   Pursuant to Section 14 of the Employment Agreement, Bowlero seeks equitable

                                                                   of the Employment Agreement.

In particular, Bowlero seeks an injunction restraining any further breaches of the Employment

Agreement and of specific performance of the Employment Agreement and the relief requested

below.

         91.   Bowlero intends to bring the merits of its breach of contract claim before the

American Arbitration Association consistent with Section 22 of the Employment Agreement.

                                        JURY DEMAND

         92.   Bowlero requests a trial by jury.



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                                 PRAYER FOR RELIEF

    WHEREFORE, Plaintiff Bowlero Corp. prays as follows:

    (a)   Judgment in                 favor and against Mr. Tanase on Counts I through III

          herein;

    (b)   Compensatory damages as a result of Mr. Tanase

          an amount to be proven at trial, including but not limited to legal, investigatory, and

          other costs; reputational harms and loss of goodwill and business revenue; together

                                                    -judgment and post-judgment interest as

          allowed by law, costs, and additional costs of collection;

    (c)   Punitive damages in an amount to be proven at trial and sufficient in amount to

          punish and deter the egregious, intentional, wanton, willful, reckless, and malicious

          conduct described in this Complaint;

    (d)   Temporary, preliminary and permanent injunctions

          i.        requiring Mr. Tanase                                  l of record, in writing

                    and under oath, the identity and last-known contact information, including

                    the title, email address, telephone number, employer and other identifying



                    individuals, groups, companies, governmental entities, or other persons or



                    and all of those acting in active concert with Mr. Tanase, have disclosed,

                    transferred, published, distributed, broadcasted, or marketed any

                    Proprietary Material or Confidential Information (as defined herein);

          ii.       requiring Mr. Tanase and his agents and all of those acting in active concert

                    or participation with Mr. Tanase, to make the following items in their

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                 possession, custody, or control (and not previously returned to Bowlero)



                 preservation purposes: any computer (laptop and/or desktop) and every

                 form of media, including but not limited to electronic storage devices,

                 external hard drives, zip drives, memory sticks, jump drives, USB/flash

                 drive devices, email accounts or other cloud storage devices which contain

                 or have ever contained Proprietary Material or Confidential Information (as

                 defined herein), including but not limited to the three USB devices

                 connected to the Dell XPS laptop on June 6, 2023;

          iii.   requiring Mr. Tanase to comply with his post-resignation contractual

                 obligations under the Employment Agreement, including with respect to

                 Sections 2 and 10 thereof;

          iv.    barring Mr. Tanase and his agents and all those acting in active concert or

                 participation with Mr. Tanase from further accessing or extracting any data



                 computer programs, or data;

          v.     barring Mr. Tanase from disclosing any Proprietary Material or

                 Confidential Information to any third party; and

          vi.    permitting Bowlero to commence discovery before any Rule 26(f)

                 conference pursuant to Rule 26(d)(1).

    (e)   Such other and further relief as the court may deem to be just and proper.




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                                   Respectfully submitted,

Dated: July 12, 2023               AMF BOWLING CENTERS, INC.
                                   and
                                   BOWLERO CORP.

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